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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

JENNIFER LAKE, as Personal Representative
of the Estate of BENJAMIN PELCH, JR.,
Deceased,
                                                           Case No. 08-14669-CK
              Plaintiff,
-v-                                                        Hon. Sean Cox

HEARTLAND - BRIARWOOD MI, LLC. d/b/a
HEARTLAND HEALTH CARE CENTER -
BRIARWOOD, and as Successor Corporation
to HEARTLAND HEALTH CARE CENTER -
BRIARWOOD, and/or EAST MICHIGAN CARE
CORPORATION and/or MANOR CARE, INC.,

              Defendants.

TED M. KOZERSKI (P368894)                         WILLIAM D. CHAKLOS (P33180)
SCOTT L. FEUER (P38185)                           DAVID C. WIEGEL (P57277)
FEUER & KOZERSKI, PC                              Attorneys for Defendants
Attorney for Plaintiff                            One Woodward Ave., Ste 2400
251 Merrill St., Ste. 203                         Detroit, MI 48226-5845
Birmingham, MI 48009                              (313) 965-7925(7415)
(248) 723-7828, Ext. 201

                                ORDER FOR AUTHORITY TO
                            DISTRIBUTE SETTLEMENT PROCEEDS

                       At a session of said court held in the United States
                       District Court, Eastern District of Michigan
                       On             May 21, 2010

              PRESENT: THE HONORABLE Sean F. Cox
                                     U.S. District Court Judge


       The Court having read the Petition and Stipulation and Agreement of the parties to

distribute the settlement proceeds, and for good cause appearing,

       IT IS HEREBY ORDERED that distribution of the settlement proceeds in the above

matter shall be made as follows:

                       To Ilene Pelch -- $55,461.24
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       IT IS FURTHER ORDERED that Jennifer Lake has voluntarily waived any share of the

proceedings from distribution of the settlement proceeds.

       IT IS FURTHER ORDERED that Pamela Savage has voluntarily waived any share of the

proceedings from distribution of the settlement proceeds.

       T IS FURTHER ORDERED that Benjamin Pelch, III has voluntarily waived any share of

the proceedings from distribution of the settlement proceeds.

       IT IS FURTHER ORDERED that Kenneth Pelch has voluntarily waived any share of the

proceedings from distribution of the settlement proceeds.


Dated: May 21, 2010                                 s/ Sean F. Cox
                                                    Sean F. Cox
                                                    U. S. District Judge
